     Case: 1:21-cv-06064 Document #: 11 Filed: 11/29/21 Page 1 of 15 PageID #:1069




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Sarina Ervin,                         )
Petitioner,                           )
                                      )
v.                                    )
                                      )       Case No. 1:21-cv-06064
Raymond Ervin,                        )       Judge Gary Feinerman, Presiding
Respondent,                           )
                                      )
and                                   )
                                      )
Gwendolyn Barlow,                     )
Third Party Respondent.               )

             RESPONDENTS’ RESPONSE AND BRIEF IN OPPOSITION TO
                     PETITIONER’S MOTION TO REMAND


        Respondents, Raymond Ervin (“Raymond”) and Gwendolyn Barlow (“Gwendolyn”)

hereby respond to Petitioner’s Memorandum in Support of Her Motion to Remand [Dkt. 6,7].

Raymond and Gwendolyn also incorporate by reference in their response, the arguments,

evidence, and authorities set forth in the Notice of Removal [Dkt. 1].

I.      The Notice of Removal is Proper Pursuant to Federal Jurisdiction

        The Petitioner mischaracterizes the nature and tenor of the Respondents’ Notice of

Removal, encouraging the Court to disregard 28 USC § 1441 and ignore the evidence in support

of removal, based solely upon Petitioner’s unsupported claims that this action is similar to the

previous removal. This is not the case. This removal presents a clear distinction, raising Federal

question jurisdiction, wherein the State Court, under color of law and having no jurisdiction in




                                                 1
    Case: 1:21-cv-06064 Document #: 11 Filed: 11/29/21 Page 2 of 15 PageID #:1070




Social Security matters 1, has chosen to ignore the provisions of the Social Security Act, Federal

Law, Constitutional, Due Process and Equal Protection safeguards accorded the Respondents,

and deprived them of their rights to property, privacy and personal liberty without access to

Constitutional, Due Process and Equal Protections. The Respondents in the instant case are faced

with a conundrum of being placed in legal jeopardy, fined, and incarcerated without the right to

counsel for criminal civil contempt adjudged by a State Court beyond the tenets of its authority 2.

The State Court further refuses to yield to Federal authority as directed by the Supremacy

Clause 3 and vacate its judgments as nullities and the Petitioner’s claims as moot 4.

     “Where a court has jurisdiction, it has a right to decide every question which occurs in
     the cause, and whether its decision be correct or otherwise, its judgment, until reversed,
     is regarded as binding in every other court. But if it act without authority, its judgments
     and orders are regarded as nullities. They are not voidable, but simply void, and form no
     bar to a recovery sought, even prior to a reversal, in opposition to them. They constitute
     no justification, and all persons concerned in executing such judgments or sentences are
     considered in law as trespassers.” “Elliott v. Peirsol, 26 U.S. (1 Pet.) 328, 340 (1828),
     cited with approval, Kalb v. Feuerstein, 308 U.S. 433, 438-39 n. 8 (1940); cf. The
     Betsey, 3 U.S. (3 Dall.) 6, 15-16 (1794).” In re Gurrola, 328 B.R. 158, 164 (B.A.P. 9th
     Cir. 2005). Further see Brown v. Board of Education, 349 U. S. at 300, "Courts of
     equity may properly take into account the public interest in the elimination of such
     obstacles in a systematic and effective manner. But it should go without saying that the
     vitality of these constitutional principles cannot be allowed to yield simply because of
     disagreement with them.” Id.

        The Respondents further raise Brady 5 claims, that the State has not timely provided upon

Raymond’s repeated request, the requested exculpatory evidence in its possession that no child

support or arrearage existed, and that the Canadian Order of July 5, 2000 was determined to be



1
  [Dkt. 1] – “Rights to social security benefits are within the exclusive federal question jurisdiction of the
United States courts …”, Raskin v. Moran, 684 F.2d 472, 475 (7th Cir. 1982).
2
  See Raskin v. Moran, 684 F.2d 472, 475 (7th Cir. 1982).
3
  DIRECTV, Inc. v. Imburgia, 577 U.S. ___, No. 14–462, slip op. at 5 (2015) (holding that the Supreme
Court’s interpretation of a federal law is an “authoritative interpretation of that Act,” requiring the
“judges of every State” to “follow it.”).
4
  [Dkt. 1, Ex. 52]
5
  Brady v. Maryland, 373 U.S. 87 (1963)

                                                      2
    Case: 1:21-cv-06064 Document #: 11 Filed: 11/29/21 Page 3 of 15 PageID #:1071




unenforceable. Such evidence would have permitted the Courts to promptly extinguish the

Petitioner’s intentional misrepresentations 6 and avoided befouling the machinery of justice in the

State and Federal Courts thus rendering their rulings nullities. As the Petitioner relies upon the

rulings of those Courts, whose determinations were made in the absence of this exculpatory

evidence 7, this issue must first be dispatched so as to provide the Respondents access to their

rights to a fair hearing under the Fifth and Fourteenth Amendments’ Due Process Clause.

Mootness is defined herein by Justice Roberts in Already, LLC v. Nike, Inc., 568 U.S. 85, 184 L.

Ed. 2d 553, 133 S. Ct. 721 (2013),

     “A case becomes moot—and therefore no longer a “Case” or “Controversy” for
     purposes of Article III—“when the issues presented are no longer ‘live’ or the parties
     lack a legally cognizable interest in the outcome.” Murphy v. Hunt, 455 U. S. 478, 481
     (1982) (per curiam) (some internal quotation marks omitted). No matter how
     vehemently the parties continue to dispute the lawfulness of the conduct that
     precipitated the lawsuit, the case is moot if the dispute “is no longer embedded in any
     actual controversy about the plaintiffs’ particular legal rights.” Alvarez, supra, at 93.”

In the instant case the crux of the Petitioner’s argument for remand rests upon the rulings in

previous State and Federal Courts, wherein evidence 8 by the Illinois Department of Healthcare

and Family Services (IHFS) that mooted the Petitioner’s claims of child support were

suppressed. Further, as there existed a duty of candor 9 and the demand that Petitioner’s counsel

exhibit a reasonable exertion of diligence 10, the duty to bring such matter of material fact to the



6
   "Petitioner's papers are inexpertly drawn, but they do set forth allegations that his imprisonment
resulted from perjured testimony, knowingly used by the State authorities to obtain his conviction, and
from the deliberate suppression by those same authorities of evidence favorable to him. These
allegations sufficiently charge a deprivation of rights guaranteed by the Federal Constitution, and, if
proven, would entitle petitioner to release from his present custody.” Pyle v. Kansas, 317 U. S. 213, 215-
216
7
  "The same result obtains when the State, although not soliciting false evidence, allows it to go
uncorrected when it appears." Napue v. Illinois, 360 U. S. 264, 269
8
  [Dkt. 1, Ex. 41, 42, 63] and [Dkt. 11, Ex. 17]
9
  Illinois Rules of Professional Conduct of 2010, Rule 3.3
10
   Illinois Rules of Professional Conduct of 2010, Preamble [4]

                                                    3
      Case: 1:21-cv-06064 Document #: 11 Filed: 11/29/21 Page 4 of 15 PageID #:1072




courts’ attention 11 would have likewise been incumbent upon them. Here in the Petitioner’s

Memorandum in Support of Her Motion for Remand, these nullities upon which the Petitioner

has created this travesty are merely restated. Given the Court’s holding in Already, LLC. V. Nike,

Inc. and the determination by IHFS of the unenforceability of the Canadian Order of July 5, 2000

there is nothing to support Petitioner’s motion for remand.

         There exist no state claims wherein the instant case may garner legitimacy as a state

action. Petitioner who is a Canadian resident has no nexus 12 to Illinois wherein, Illinois has no

jurisdiction over the marriage, divorce, custody or child support matters, and Petitioner maintains

no real or personal property in the State. The State here is silent as to the basis for its justification

in attempting to retain jurisdiction on a Federal matter.

II.      Petitioner fails to Rebut Respondents Claims in Their Motion to Remand

         A.     The Notice of Removal is Not Untimely

         The Seventh Circuit Court of Appeals, in Walker v. Trailer Transit, Inc., 727 F.3d 819
(7th Cir. 2013), clearly elucidates the nature of the statute, its time provisions and when and how
the 30-day time provisions are prompted.

         “… However, if the case stated by the initial pleading is not removable, a notice of
         removal may be filed within 30 days after receipt by the defendant, through service
         or otherwise, of a copy of an amended pleading, motion, order or other paper from
         which it may first be ascertained that the case is one which is or has become
         removable.” Walker v. Trailer Transit, Inc., 727 F.3d 819, 823 (7th Cir. 2013)
         [Emphasis added].

The Respondents here timely filed the Notice of Removal within the thirty (30) day window

afforded by § 1446(b)(3) as the State Court’s order of October 15, 2021, which was received by


11
  Illinois Rules of Professional Conduct of 2010, Rule 4.1
12
  “…“there must be ‘an affiliation between the forum and the underlying controversy, principally, [an]
activity or an occurrence that takes place in the forum State and is therefore subject to the State’s
regulation.’” Bristol-Myers, 582 U. S., at ___−___, ___ (slip op., at 5−6, 7) (quoting Goodyear, 564 U. S.,
at 919).”

                                                     4
     Case: 1:21-cv-06064 Document #: 11 Filed: 11/29/21 Page 5 of 15 PageID #:1073




Respondents’ attorney via email October 19, 2021. Respondents filed their Notice of Removal

November 15, 2021. Respondents’ Notice of Removal noted the operative language, “may be

filed within 30 days after receipt by the defendant,” and the fact that pursuant to FRCP Rule 6

the removal was timely filed.

        Contrary to Petitioner’s claim that the October 15, 2021 order does not satisfy the

grounds for removal, this grossly discounts the criminal sanctions imposed by the State Court as

acts that foreclose Respondent’s personal liberty and vitiate their Constitutional and Due Process

Rights and are subject to federal removal. Further, the holding by Judge Alonso relies upon the

sequestration of evidence within the Petitioner’s possession, at that time, that their case was moot

because of the IHFS determination of unenforceability due to lack of due process. As this matter

was not timely appealed or judicial review requested, its finality is a bar to all actions by the

Petitioner 13.

        B.       The Notice of Removal is Not Impermissible

“The Eighth Amendment’s Excessive Fines Clause is an incorporated protection applicable to

the States under the Fourteenth Amendment’s Due Process Clause. Pp. 2–9. (a) The Fourteenth

Amendment’s Due Process Clause incorporates and renders applicable to the States Bill of

Rights protections “fundamental to our scheme of ordered liberty,” or “deeply rooted in this

Nation’s history and tradition.” McDonald v. Chicago, 561 U. S. 742, 767 (alterations omitted).

If a Bill of Rights protection is incorporated, there is no daylight between the federal and state

conduct it prohibits or requires.” Timbs v. Indiana, 586 U. S. ____ (2019). The instant case



13
  Califano v. Sanders, 97 S.Ct. 980 (1977) Further held, absent a constitutional challenge, section 205(g)
of the Social Security Act, which provides that an individual may seek judicial review of any final decision
made after a hearing, does not authorize judicial review of a decision denying a petition to reopen a
prior final decision of the agency, as the petition may be denied without providing a section 205(b)
hearing.

                                                     5
     Case: 1:21-cv-06064 Document #: 11 Filed: 11/29/21 Page 6 of 15 PageID #:1074




mirrors Timbs here that the access to the court for redress afforded by the Constitution, Due

Process and Equal Protection safeguards in a criminal matter, wherein the sentence is imposed

by a State Court exceeding the metes and bounds of its jurisdiction are improperly foreclosed to

the Respondents; when reviewed in the light of the actions of the Petitioner and her counsel to

unreasonably and vexatiously multiply the proceedings in State and Federal courts by failing to

dismiss them when it was apparent that their claims were moot, this serves to defeat the

administration of justice 14. Given the graveness imposed by the loss of one’s personal liberty 15,

the expanse of the Petitioner’s and her counsel’s actions must be checked. Secondly, for

Petitioner and counsel to proceed further the reach of this transgression in the instant case, while

simultaneously harkening to the State Court while the matter is under the District Court’s

jurisdiction presents an issue for consideration of the inherent exercise of authority for sanction.

        C.      The Notice of Removal is Not Improper

        The Petitioner has not refuted that she was granted a Canadian dissolution and that this

order was assigned to the CSEA member state Ontario, Canada, in compliance with 42 USC

602(a)(26), Title IV-D, which in turn assigned this order to Illinois Department of Healthcare

and Family Services (IHFS). Upon investigation and review IHFS determined the order was

unenforceable for lack of due process to Raymond, and notified Sarina, who never filed a timely

appeal or sought judicial review. Despite her impediments to bring private lawsuit as per

Blessing v. Freestone 16 she nonetheless brought a collection proceeding against Raymond using


14
   “We now hold that the suppression by the prosecution of evidence favorable to an accused upon
request violates due process where the evidence is material either to guilt or to punishment,
irrespective of the good faith or bad faith of the prosecution.” Brady v. Maryland, 373 U.S. 83, 84
15
   “No right is held more sacred, or is more carefully guarded, by the common law, than the right of
every individual to the possession and control of his own person, free from all restraint or interference
of others, unless by clear and unquestionable authority of law.” Terry, 392 U.S. at 9, quoting Union
Pac.R.Co. v. Botsford, 141 U.S. 250, 251 (1891)
16
   See Blessing v. Freestone, 520 U.S. 329, 117 S.Ct. 1353, 137 L.Ed.2d 569 (1997)

                                                    6
   Case: 1:21-cv-06064 Document #: 11 Filed: 11/29/21 Page 7 of 15 PageID #:1075




orders that had been previously vacated and the unenforceable Canadian order. Sarina concealed

the IHFS determination from the court and claimed justification in the Illinois Marriage and

Dissolution Act (IMDA), though Illinois has repeatedly acknowledged that Canada maintained

exclusive jurisdiction. Sarina’s claim that Illinois jurisdiction lie serves to provide a false

narrative to the Court to merely don the apparel of a state action to shield it from scrutiny

through removal. No state issues rest with this matter; it is not a matrimonial or post-decree

matter as Petitioner contends because the divorce was granted in Canada over twenty (20) years

ago where the Canadian Court maintained continuing and exclusive jurisdiction. Petitioner even

refers to the action as a collection matter throughout the Motion to Remand [Dkt. 7]. “ The law

of specific jurisdiction thus seeks to ensure that States with “little legitimate interest” in a suit do

not encroach on States more affected by the controversy. Bristol-Myers, 582 U. S., at ___ (slip

op., at 6).” Sarina is not a resident of Illinois; the children are also not residents of Illinois. The

marriage or the divorce did not occur in Illinois. There is a no connection between Illinois and

the specific claim that Sarina brings. Illinois has “little legitimate interest” in Sarina’s claims and

as such should not “encroach” on Canada, which is “more affected by the controversy.”

Subsequently, as the US Supreme Court found in Bristol-Myers, jurisdiction is improper. The

Court held “…“there must be ‘an affiliation between the forum and the underlying controversy,

principally, [an] activity or an occurrence that takes place in the forum State and is therefore

subject to the State’s regulation.’” Bristol-Myers, 582 U. S., at ___−___, ___ (slip op., at 5−6, 7)

(quoting Goodyear, 564 U. S., at 919).” In this case, there is nothing that has taken place in

Illinois that is affiliated with Sarina’s claim and thus is not subject to Illinois’ regulation.

    “… the Due Process Clause, acting as an instrument of interstate federalism, may
    sometimes act to divest the State of its power to render a valid judgment.” World-Wide
    Volkswagen, 444 U. S., at 293, 294.



                                                    7
   Case: 1:21-cv-06064 Document #: 11 Filed: 11/29/21 Page 8 of 15 PageID #:1076




It is the Due Process Clause of the 14th Amendment that is upended in this case. The 14th

Amendment limits the extent to which State courts can exercise personal jurisdiction over a

defendant. In this case pursuant to established precedent of the US Supreme Court regarding

personal jurisdiction and the 14th Amendment, the State court lacks personal jurisdiction over

Raymond to enter a valid judgment in the matter.

     “…It follows that the interpretation of the Fourteenth Amendment enunciated by this
    Court in the Brown case is the supreme law of the land, and Art. VI of the Constitution
    makes it of binding effect on the States "any Thing in the Constitution or Laws of any
    State to the Contrary notwithstanding." Every state legislator and executive and judicial
    officer is solemnly committed by oath taken pursuant to Art. VI, cl. 3, "to support this
    Constitution." Chief Justice Taney, speaking for a unanimous Court in 1859, said that
    this requirement reflected the framers' "anxiety to preserve it [the Constitution] in full
    force, in all its powers, and to guard against resistance to or evasion of its authority, on
    the part of a State…” Ableman v. Booth, 21 How. 506, 524. Id at 18.

It is chilling that a State court can usurp one’s rights and freedom based on abuse of authority.

Notwithstanding that is precisely what is at stake in this case.

“State Judges, as well as federal, have the responsibility to respect and protect persons from

violations of federal constitutional rights.” Gross v. State of Illinois, 312 F 2d 257; (1963).

Raymond has consistently raised the issue of violation of Due Process throughout all of the

proceedings in Illinois; however the matter was never heard. “Where a federal right is

implicated, the State must provide the accused a process that is constitutionally compliant with

the U.S. Constitution and mandatory under federal law.” Goldberg v. Kelly, 397 U.S. 254 (1970).

“The Supreme Court long ago recognized that federal injunctive relief against a state court

proceeding can in some circumstances be essential to prevent great, immediate, and irreparable

loss of a person's constitutional rights.” Mitchum v. Foster, 407 U.S. 225, 242, 92 S.Ct. 2151,

2162, 32 L.Ed.2d 705 (1972). The Mitchum Court reasoned:




                                                  8
      Case: 1:21-cv-06064 Document #: 11 Filed: 11/29/21 Page 9 of 15 PageID #:1077




      "Section 1983 was thus a product of a vast transformation from the concepts of federalism
      that had prevailed in the late 18th century when the anti-injunction statute was enacted.
      The very purpose of s 1983 was to interpose the federal courts between the States and the
      people, as guardians of the people's federal rights — to protect the people from
      unconstitutional action under color of state law, `whether that action be executive,
      legislative, or judicial.' Ex parte Virginia, 100 U.S. 339, at 346, 25 L.Ed. 676 (1879) In
      carrying out that purpose, Congress plainly authorized the federal courts to issue
      injunctions in s 1983 actions, by expressly authorizing a `suit in equity' as one of the means
      of redress."

What is essential here is that the Court be in possession of the entire truth of the matter at hand

and in possession of evidence that is capable of directly verifying the statements of the parties.

The abbreviated summary afforded the Court by Sarina and her counsel omits many

consequential elements that the Court has never been afforded due to the purposeful omission to

place Petitioner in advantageous position, wherein the rulings predicated upon these actions

served as the basis to support future rulings. In accordance with FRCP 26 an accurate summation

of the proceedings related to this matter is herein provided [Dkt. 11, Ex. 21].

II.       The Social Security Act and its Provisions Govern in This Matter

          Petitioner has not presented any evidence in her Motion to Remand [Dkt. 6,7] that refutes

the allegation that Sarina is able to overcome the constitutional challenge required by Blessing to

afford her a rebuttable presumption of §1983 right to private lawsuit. Assuming arguendo that

challenge is granted Sarina must then overcome the statutory requirements imposed upon Title

IV-D recipients by 42 USC 602(a)(26), which requires the assignment of rights to arrearages,

current and future support. Herein, she would have to then overcome constitutional challenges to

upset well settled law regarding assignment, and overturn the legislative intent of Congress when

drafting 42 USC § 666, and prevail upon the Court to grant her status as “State’s Attorney or




                                                    9
     Case: 1:21-cv-06064 Document #: 11 Filed: 11/29/21 Page 10 of 15 PageID #:1078




duly appointed government representative” pursuant to 305 ILCS 5/10-10. 17 And assuming

arguendo that Sarina can attain such status, the problems of res judicata and “mootness” then

arise as the final constitutional challenge that must be overcome before a claim on Petitioner’s

behalf can be realized. In such a scenario, the guardrails provided by the Constitution, its

Amendments, Equal Protection and Due Process Protections, and federal law are all removed.

This slippery slope offers no sound defined route toward the destination of justice, and would

have the Court upset a body of work that has served this Nation for over two centuries for the

single-minded interest of one individual’s pecuniary gain.

         All of the Petitioner’s claims are mooted by the actions of IHFS in rendering a

determination June 6, 2011, which served as the basis for the subsequent ISDU Termination of

Income Withholding Order on April 24, 2019, and the SSA Cease Garnishment Notice on

December 20, 2021. None of the proceeding actions were timely appealed or judicially reviewed

within the sixty (60) day window afforded Petitioner 18, and thus are final and cannot be

reopened. 19 No amount of diversion or dicta will change the fact that, the holding in Blessing, the

controlling law of the case, Petitioner does not possess an individual right to seek garnishment of

the Social Security Benefits of Respondent nor any of the proceeds that she has seized. Petitioner

fails to otherwise refute that the Federal District Court has original jurisdiction over Federal law



17
   Public Act 92-0876 passed by the 92nd Illinois General Assembly December 5, 2002 and enacted
January 6, 2003, that the prosecution of child support for Title IV-D beneficiaries is restricted by 305 ILCS
5/10-10 “wherein the local government units shall refer to the State’s Attorney or to the proper legal
representative of the government unit…” (emphasis added). What is most notable is that the party that
is issuing the citation is neither an authorized agent nor an entity empowered to act in such matters
regarding Title IV matters by the State of Illinois Department of
Healthcare and Family Services Department of Child Support Services (ILDHCFS) as noted by the current
Intergovernmental Agreement Number 2017-55-013K, which limits this authority to Lake County State’s
Attorney.
18
   [Dkt. 1, Ex. 47, p. 7-8, (1.)(c.)]
19
   Califano v. Sanders, 97 S.Ct. 980 (1977)

                                                     10
     Case: 1:21-cv-06064 Document #: 11 Filed: 11/29/21 Page 11 of 15 PageID #:1079




claims such as those pursuant to the Social Security Act and that her Citation to Discover Assets

to garnish Respondent’s Social Security Benefits under Title II of the Social Security Act (42

U.S.C. § 401 et seq.) poses a Federal question. Whereas the Petitioner assigned her rights to

collect to the Province of Ontario, Canada in exchange for public assistance, she has no private

remedy to pursue in this matter against Raymond. Petitioner fails to acknowledge or address the

evidence of her assignment [Dkt. 1, Ex.62] is what constitutes the law of the case according to

Blessing.

         Throughout these proceedings what becomes blatantly obvious is that Sarina has

repeatedly attempted to navigate around the restrictions imposed upon Title IV-D recipients by

the Social Security Act and Federal Laws to serve her own pecuniary interest in contravention of

the Congressionally legislated mandate. It should be noted that Sarina and her counsel conspired

to violate Social Security Code Section 1106 [42 USC §1306] and 20 CFR § 401.100 20 and

unlawfully obtained Raymond’s Social Security data without his authorization, wherein they

subsequently violated 42 USC § 408(a)(8) and disseminated this information to gain access to

the banking and financial data of Raymond, Gwendolyn and Raymond’s Mother, Mrs. Clarissa

Ervin 21. Sarina and her counsel then used this data to conduct a deposition as to Defendants

ability to pay an award of legal fees, from which the State Court found the Defendants in

criminal contempt and sentenced them to 30 days in jail. This conduct is prohibited by the

Exclusionary Rule embodied in the Fourth Amendment and representative of the coercive tactics

employed in Mapp v. Ohio, 367 U.S. 643 (1961), pp. 647,648 the Court specifically dealt with

the use of evidence unconstitutionally acquired in such circumstances stating the following:


20
   20 CFR § 401.100. Disclosure of records with the written consent of the subject of the record.
(a) General. Except as permitted by the Privacy Act and the regulations in this part, or when required by
the FOIA, we will not disclose your records without your written consent. (Underline added.)
21
   [Dkt. 1, Ex. 49, 50]

                                                   11
  Case: 1:21-cv-06064 Document #: 11 Filed: 11/29/21 Page 12 of 15 PageID #:1080




       "the Fourth Amendment . . . put the courts of the United States and Federal officials, in
       the exercise of their power and authority, under limitations and restraints [and] . . .
       forever secure[d] the people, their persons, houses, papers and effects against all
       unreasonable searches and seizures under the guise of law . . . , and the duty of giving to
       it force and effect is obligatory upon all entrusted under our Federal system with the
       enforcement of the laws." Weeks v. United States, 232 U. S. 383 (1914), pp. 391-392.
       "If letters and private documents can thus be seized and held and used in evidence
       against a citizen accused of an offense, the protection of the Fourth Amendment
       declaring his right to be secure against such searches and seizures is of no value, and, so
       far as those thus placed are concerned, might as well be stricken from the Constitution.
       The efforts of the courts and their officials to bring the guilty to punishment,
       praiseworthy as they are, are not to be aided by the sacrifice of those great principles
       established by years of endeavor and suffering which have resulted in their embodiment
       in the fundamental law of the land." Id. at p. 393.

          On the basis of the facts, evidence, Federal law, Constitutional and Due Process burden it

is axiomatic that Federal jurisdiction is predicated in the instant case.


III.      The State Court’s Overreach Has Deprived Respondents of The Civil Rights
          Afforded Them by the U.S. Constitution

          “The Equal Protection Clause gives rise to a cause of action on behalf of a "class of one"

where the plaintiff does not allege membership in a class or group, but alleges that she has been

intentionally treated differently from others similarly situated and that there is no rational basis

for such treatment. See, e. g., Sioux City Bridge Co. v. Dakota County, 260 U. S. 441. The

Clause secures every person within a State's jurisdiction against intentional and arbitrary

discrimination, whether occasioned by a statute's express terms or by its improper

execution. Id., at 445.” Village of Willowbrook v. Olech, 528 U.S. 562 (2000). Here as in

Willowbrook the contour of the instant case is extremely similar as the Respondents are being

divested of their Constitutional and Due Process Rights by the irrational, arbitrary, inconsistent

and vexatious actions of the State Courts that have breathed life into moot matter, such that the

creature of Sarina’s fabrication and the State Courts actions, has now come to imperil the

Respondents’ property, privacy, and personal. Redress of the Willowbrook defendants’ claims

                                                   12
     Case: 1:21-cv-06064 Document #: 11 Filed: 11/29/21 Page 13 of 15 PageID #:1081




who were similarly situated through the Federal Courts was sought and granted, wherein the

Supreme Court found that they satisfied the criterion as a class of one and to be afforded the

protections of § 1983. The Respondents seek the same given their state of affairs.

         There has been a pattern of disparate treatment of the Respondents by the State Court

throughout the pendency of this matter. 22 Given the totality of the relevant facts and the

pattern and practice of conduct, it would appear that there has been intentional

discrimination in violation of the equal protection and due process clauses of the 14th

Amendment. The practice of providing “more favorable treatment toward similarly situated

individuals not sharing the protected characteristic” can form the basis of intentional

discrimination. See Loyd v. Phillips Bros., Inc., 25 F.3d 518, 522 (7th Cir. 1994).

       “The controlling legal principles are plain. The command of the Fourteenth
      Amendment is that no "State" shall deny to any person within its jurisdiction the equal
      protection of the laws. "A State acts by its legislative, its executive, or its judicial
      authorities. It can act in no other way. The constitutional provision, therefore, must
      mean that no agency of the State, or of the officers or agents by whom its powers are
      exerted, shall deny to any person within its jurisdiction the equal protection of the laws.
      Whoever, by virtue of public position under a State government, . . . denies or takes
      away the equal protection of the laws, violates the constitutional inhibition; and as he
      acts in the name and for the State, and is clothed with the State's power, his act is that of
      the State. This must be so, or the constitutional prohibition has no meaning." Ex parte
      Virginia, 100 U. S. 339, 347. Thus the prohibitions of the Fourteenth Amendment
      extend to all action of the State denying equal protection of the laws; whatever the
      agency of the State taking the action, see Virginia v. Rives, 100 U. S.
      313; Pennsylvania v. Board of Directors of City Trusts of Philadelphia, 353 U. S.
      230; Shelley v. Kraemer, 334 U. S. 1; or whatever the guise in which it is taken, see
      Darrington v. Plummer, 240 F. 2d 922; Department of Conservation and
      Development v. Tate, 231 F. 2d 615.

         In order for a 1983 claim to survive, the Court in Blessing identified several factors that

when satisfied, support that a statutory provision results in a federal right, The Court in Blessing

held,


22
  See Dkt. 11, Ex 1 – an extensive history of disparate treatment of Respondents through the pendency
of Petitioner’s actions in the Illinois Courts.

                                                   13
     Case: 1:21-cv-06064 Document #: 11 Filed: 11/29/21 Page 14 of 15 PageID #:1082




      “ We have traditionally looked at three factors when determining whether a particular
      statutory provision gives rise to a federal right. First, Congress must have intended that
      the provision in question benefit the plaintiff. Wright, 479 U. S., at 430. Second, the
      plaintiff must demonstrate that the right assertedly protected by the statute is not so
      "vague and amorphous" that its enforcement would strain judicial competence. Id., at
      431-432. Third, the statute must unambiguously impose a binding obligation on the
      States.”

In this case, Respondents assert that the Congressional legislative intent of the 14th Amendment

meant that all citizens of the United States should enjoy the right to due process and equal

protection, and not be treated differently where similarly situated. Respondents are citizens of the

U.S. and as such are intended to be beneficiaries of these clauses of the 14th Amendment.

Secondly, the rights of equal protection and due process are not vague and their enforcement is

not burdensome or beyond the understanding and competence of the Court, as evidenced by the

judicial oath to uphold the tenets of the U.S. Constitution as they administer justice. Finally, the

14th Amendment clearly “imposes a binding obligation on the States” as evidenced in Article I,

Bill of Rights, Section 2 of the Illinois Constitution, specifically Due Process and Equal

Protection as tenets “ordained” and “established” as the Constitution for the State of Illinois.

Respondents satisfy these factors; however Petitioner is unable to do the same.



                                      PRAYER FOR RELIEF


         WHEREFORE, Respondents ask for the following relief:

A.       Deny to Petitioner’s Memorandum in Support of Her Motion to Remand and issue a

         permanent injunction against the Illinois Courts and the Petitioner;

B.       Issue a declaratory judgment vacating and reversing the orders of the State and Federal

         Courts rendered moot by IHFS June 6, 2011 determination as final Califano v. Sanders,

         97 S.Ct. 980 (1977) and 42 U.S.C. 405;

                                                  14
     Case: 1:21-cv-06064 Document #: 11 Filed: 11/29/21 Page 15 of 15 PageID #:1083




C.       Award Respondents reasonable attorneys’ fees, costs, and expenses pursuant to 42

         U.S.C. § 1988, and

D.       Any further relief as this Court may deem just and proper.



                                 CERTIFICATE OF SERVICE
      This is to certify that the foregoing RESPONDENTS’ RESPONSE AND BRIEF IN
OPPOSITION TO PETITIONER’S MOTION TO REMAND, with exhibits, was e-filed through
ECF and electronically served on November 29, 2021 to:
                Matthew Elster
                161 North Clark Street, Suite 3000
                Chicago, IL 60601
                mdelster@beermannlaw.com
                Attorney for Petitioner

DATED: November 29, 2021




                                                 15
